                UNITED STATES COURT OF INTERNATIONAL TRADE


JIANGSU SENMAO BAMBOO AND WOOD
INDUSTRY CO., LTD. et al.,

                  Plaintiffs,

SHENZHENSHI HUANWEI WOODS CO.,                            Before: Timothy M. Reif
LTD., et al.,
                                                          Consol. Court No. 20-03885
                  Plaintiff-Intervenors,

         v.

UNITED STATES,
                                Defendant,
       and

AMERICAN MANUFACTURERS OF
MULTILATYERED WOOD FLOORING,
Defendant-Intervenor.


                                             ORDER

       Upon consideration of the Rule 56.2 Motion for Judgment on the Agency Record filed by

Plaintiff-Intervenors Shenzhenshi Huanwei Woods., Co., Ltd., Zhejiang Biyork Wood Co., Ltd.,

Jiangsu Guyu International Trading Co., Ltd., Kemian Wood Industry (Kunshan) Co., Ltd.,

Jiangsu Simba Flooring Co., Ltd., Dongtai Fuan Universal Dynamics, LLC, Jiashan Huijiale

Decoration Material Co., Ltd., and Dalian Jiahong Wood Industry Co., Ltd., and all other papers

and proceedings herein, it is hereby

       ORDERED that the Plaintiff-Intervenors’ motion is granted, and it is further
       ORDERED that this matter is remanded to the United States Department of Commerce

with instructions to issue a new determination consistent with this Court’s decision.



                                             _______________________________________
                                             Honorable Timothy M. Reif, Judge


Dated: __________________, 2021
        New York, New York
               UNITED STATES COURT OF INTERNATIONAL TRADE


JIANGSU SENMAO BAMBOO AND WOOD
INDUSTRY CO., LTD. et al.,

                 Plaintiffs,

SHENZHENSHI HUANWEI WOODS CO.,                            Before: Timothy M. Reif
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       and

AMERICAN MANUFACTURERS OF
MULTILATYERED WOOD FLOORING,
Defendant-Intervenor.




    PLAINTIFF-INTERVENORS’ RULE 56.2 MOTION FOR JUDGMENT ON THE
                          AGENCY RECORD

       This memorandum of points of law is submitted in support of the Motion for Judgment

on the agency record submitted by Plaintiff-Intervenors, Shenzhenshi Huanwei Woods., Co.,

Ltd., Zhejiang Biyork Wood Co., Ltd., Jiangsu Guyu International Trading Co., Ltd., (“Guyu”),

Kemian Wood Industry (Kunshan) Co., Ltd., Jiangsu Simba Flooring Co., Ltd., Dongtai Fuan

Universal Dynamics, LLC, Jiashan Huijiale Decoration Material Co., Ltd., and Dalian Jiahong

Wood Industry Co., Ltd., foreign exporters of subject merchandise.
       Plaintiff-Intervenors challenge certain aspects of the final results of the seventh

administrative review of the countervailing duty (“CVD”) order on Multilayered Wood Flooring

(“MLWF”) from the People’s Republic of China conducted by the United States Department of

Commerce (“Commerce”). Multilayered Wood Flooring From the People’s Republic of China:

Final Results and Partial Rescission of Countervailing Duty Administrative Review; 2017, 85

Fed. Reg. 76,011 (Dep’t Commerce Nov. 27, 2020) (“Final Results”), and incorporating the

Issues and Decision Memorandum: Issues and Decision Memorandum for the Final Results of

the 2017 Countervailing Duty Administrative Review of Multilayered Wood Flooring from the

People’s Republic of China (Nov. 20, 2020) (“Final IDM”).

       Plaintiff-Intervenors respectfully move this Court to remand the case back to Commerce

with instructions to reconsider aspects of its determination in accordance with this Court’s

decision.


                                                      Respectfully submitted,

                                                      CLARK HILL PLC

                                                      _/s/ Mark R. Ludwikowski______________
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                                                      Counsel for Plaintiff-Intervenors


Dated: May 14, 2021
                                                      NON-CONFIDENTIAL VERSION


              UNITED STATES COURT OF INTERNATIONAL TRADE


JIANGSU SENMAO BAMBOO AND WOOD
INDUSTRY CO., LTD. et al.,

                Plaintiffs,

SHENZHENSHI HUANWEI WOODS CO.,                       Before: Timothy M. Reif
LTD., et al.,
                                                     Consol. Court No. 20-03885
                Plaintiff-Intervenors,

       v.

UNITED STATES,
                              Defendant,
      and

AMERICAN MANUFACTURERS OF
MULTILATYERED WOOD FLOORING,
Defendant-Intervenor.



     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF-INTERVENORS’
       RULE 56.2 MOTION FOR JUDGMENT ON THE AGENCY RECORD

                                               Mark R. Ludwikowski
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Dated: May 14, 2021




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               UNITED STATES COURT OF INTERNATIONAL TRADE



JIANGSU SENMAO BAMBOO AND WOOD
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SHENZHENSHI HUANWEI WOODS CO.,                           Before: Timothy M. Reif
LTD., et al.,
                                                         Consol. Court No. 20-03885
                 Plaintiff-Intervenors,

        v.

UNITED STATES,
                               Defendant,
       and

AMERICAN MANUFACTURERS OF
MULTILATYERED WOOD FLOORING,
Defendant-Intervenor.



      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF-INTERVENORS’
        RULE 56.2 MOTION FOR JUDGMENT ON THE AGENCY RECORD

                                            INTRODUCTION

       Plaintiff-Intervenors, Shenzhenshi Huanwei Woods., Co., Ltd., Zhejiang Biyork Wood

Co., Ltd., Jiangsu Guyu International Trading Co., Ltd. (“Guyu”), Kemian Wood Industry

(Kunshan) Co., Ltd., Jiangsu Simba Flooring Co., Ltd., Dongtai Fuan Universal Dynamics, LLC,

Jiashan Huijiale Decoration Material Co., Ltd., and Dalian Jiahong Wood Industry Co., Ltd., by

and through their attorneys, hereby submit this memorandum in support of their motion for

judgment on the agency record challenging the U.S. Department of Commerce’s (“Commerce”)


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final results of the seventh administrative review of the countervailing duty (“CVD”) order

covering multilayered wood flooring from the People’s Republic of China. Commerce

erroneously selected Guyu as a mandatory responded in the review based on inaccurate import

data from U.S. Customs and Border Protection (“CBP”). Commerce compounded this error in

the final results by including poplar core sheets in the Provision for Veneers for less than

adequate renumeration (“LTAR”) in its calculation of a 122.92 percent CVD rate for Guyu.

Plaintiff-Intervenors contest Commerce’s assigned rate for Guyu and for the separate rate

respondents in this review as well as the underlying determinations leading to this calculation.

                        ADMINISTRATIVE DETERMINATION UNDER REVIEW

       This action seeks judicial review of certain aspects of the final results of the

administrative review of the CVD order on Multilayered Wood Flooring (“MLWF”) from the

People’s Republic of China conducted by the United States Department of Commerce

(“Commerce”). Multilayered Wood Flooring From the People’s Republic of China: Final

Results and Partial Rescission of Countervailing Duty Administrative Review; 2017, 85 Fed.

Reg. 76,011 (Dep’t Commerce Nov. 27, 2020) (“Final Results”), and incorporating the Issues

and Decision Memorandum: Issues and Decision Memorandum for the Final Results of the 2017

Countervailing Duty Administrative Review of Multilayered Wood Flooring from the People’s

Republic of China (Nov. 20, 2020) (“Final IDM”). The review in question covers entries of

MLWF for the period of January 1, 2017 through December 31, 2017.

                      STATEMENT OF ISSUES PRESENTED FOR REVIEW

1.     Whether Commerce’s selection of Guyu as a mandatory respondent for individual

       examination was based on substantial evidence on the record or in accordance with law?




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2.     Whether Commerce’s application of adverse facts available (“AFA”) to determine that

       individual poplar farmers are state “authorities” was based on substantial evidence or in

       accordance with law?

3.     Whether Commerce’s finding of cross-ownership between Guyu’s affiliates was based on

       substantial evidence or in accordance with law?

4.     Whether Commerce’s determination to countervail poplar core sheets, used as in input in

       assembling plywood cores within mutlilatyered wood flooring, under the Provision for

       Veneers for LTAR is based on substantial evidence or in accordance with law?

5.     Whether Commerce’s double counting of poplar core sheets in the Provision of Veneers

       for LTAR, as well as in the Provision for Plywood for LTAR, was based on substantial

       evidence or in accordance with law?

6.     Whether the rate calculated by Commerce using AFA against the Government of China

       (“GOC”) for the export buyer credit program (“EBCP”) was reasonable, based on

       substantial evidence or in accordance with law?

7.     Whether Commerce’s decision to countervail unalleged subsidies under the “Other

       Subsidies” program was based on substantial evidence or in accordance with law?

                                      STATEMENT OF FACTS

       Commerce initiated the countervailing duty investigation of multilayered wood flooring

from the People’s Republic of China on November 18, 2010, following filing of the petition on




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October 21, 2010.1 The International Trade Commission (“Commission”) simultaneously

conducted its investigation.2

        On October 18, 2011, Commerce issued a countervailing duty order on multilayered

wood flooring from the People’s Republic of China following an affirmative countervailing duty

determination by Commerce and an affirmative injury determination by the Commission.3 The

countervailing duty order remains in effect.

        In December 2018, certain interested parties requested that Commerce conduct an annual

administrative review on MLWF from the People’s Republic of China, and on March 14, 2019,

Commerce initiated the seventh administrative review covering the period of January 1, 2017

through December 31, 2017 (“POR”).4

        Commerce subsequently released import data from U.S. Customs and Border Protection

(“CBP”) for purposes of mandatory respondent selection and solicited comments from interested

parties.5

        Various parties, including Petitioner, American Manufacturers of Multilayered Wood

Flooring (“AMMWF” or “Petitioner”), filed such comments with Commerce indicating serious



1
 See Multilayered Wood Flooring from the People’s Republic of China: Initiation of
Countervailing Duty Investigation, 75 Fed. Reg. 70,719 (Dep’t Commerce Nov. 18, 2010).
2
 See Multilayered Wood Flooring from China, 75 Fed. Reg. 70,719 (Int’l Trade Comm’n Oct.
27, 2010).
3
 See Multilayered Wood Flooring From the People’s Republic of China: Countervailing Duty
Order, 76 Fed. Reg. 76,693 (Dep’t Commerce Dec. 8, 2011).
4
 See Initiation of Antidumping and Countervailing Duty Administrative Reviews, 84 Fed. Reg.
9,297 (Dep’t Commerce Mar. 14, 2019).
5
 See Memorandum to Interested Parties: Customs and Border Protection Data for Respondent
Selection (March 14, 2019).


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inaccuracies in the CBP data and requesting that Commerce issue Quantity and Value

Questionnaires to Chinese producers and exporters for purposes of respondent selection and to

determine their actual export volumes.6

       Commerce rejected those requests and on May 21, 2019 selected Baroque Timber

Industries (“Baroque Timber”) and Guyu as the two mandatory respondents in the administrative

review on the grounds that they accounted for the largest volume of subject merchandise

according to the CBP data.7 This was the first time that Guyu had been selected by Commerce

for individual examination in any proceedings involving multilayered wood flooring from China,

which was indicative of the fact that it was not a major exporter of subject merchandise to the

United States.8

       On May 24, 2019, Commerce issued a Countervailing Duty Questionnaire

(“Questionnaire”) to Guyu as a mandatory respondent in the subject review.9 The Questionnaire

required that Guyu report the total quantity and value of its sales of subject merchandize to the

United States during the POR, the same information which CBP data was presumed to have

provided. Questionnaire, at III-7.




6
 See e.g., Letter on Behalf of AMMWFL Comments on CBP Data and Respondent Selection
(March 21, 2019); see also, Letter on Behalf of Jiangsu Senmao, Bamboo and Wood Industry
Co., Ltd. (“Senmao”): Comments on CBP Data and Request for Issuance Q&V Questionnaires
(March 21, 2019).
7
 See Memorandum from Suzanne Lam, International Trade Analyst to Irene Darzenta Tzafolias,
Director Office VIII: Respondent Selection (May 21, 2020).
8
  See Letter on Behalf of Guyu: Request for Extension of Time to File the Response to Section
III of the Questionnaire (June 21, 2019).
9
 See Letter to Ms. Liu Fang, First Secretary, Embassy of the People’s Republic of China (May
24, 2019) (“Questionnaire”).


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       On May 28, 2019, Guyu filed comments on Commerce’s respondent selection and

included its actual quantity and value of exports to the United States during the POR – the same

information which Commerce requested from Guyu in the Questionnaire.10 Since it was now

selected as a mandatory respondent, Guyu attempted to place this information on the record to

inform Commerce of the vast disparity between its actual quantity and value information and the

CBP data relied upon by Commerce.

       On May 30, 2019, Commerce rejected Guyu’s comments on the grounds that they were

submitted after the deadline for comment on respondent selection, notwithstanding the fact that

the comments included the same quantity and value information which Commerce asked for in

the Questionnaire.11

       On July 15, 2019 Guyu filed its Questionnaire response which again included its actual

quantity and value of exports to the United States during the POR. Section III Questionnaire

Response on behalf of Guyu (July 15, 2020). This information was materially the same quantity

and value information which Guyu had offered to Commerce on May 28, 2019, which

Commerce refused to consider for the record at that time.

       In addition to identifying subsidy programs from which Guyu received benefits during

the POR, in its Questionnaire response the company also responded to the “other subsidies”

question at the end of the Questionnaire which requires the respondents to report all government




10
  See Letter on Behalf of Guyu: Comments on Respondent Selection Memoranda (May 28,
2019).
11
  See Letter to Guyu: Rejection of Untimely Respondent Selection Comments (May 30, 2019);
see also Response to the Department’s Rejection of Comments on behalf of Jiangsu Senmao
(May 31, 2019); Response on behalf of Senmao on Department’s Rejection of Guyu’s
Comments of May 28, 2019 (June 3, 2019).


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assistance received during the POR, or during the course of the established average useful life

(“AUL”) regardless of whether the assistance was part of any alleged subsidy program.

       On August 1, 2019, Commerce extended until August 12, 2019 the deadline for

submitting factual information to measure the adequacy of renumeration pursuant to 19 C.F.R.

351.301(c)(3) (“Benchmark Information”).12 Various parties submitted Benchmark Information

for measuring the adequacy of renumeration of inputs.13 These submissions covered the usual

inputs used in Commerce’s LTAR calculations during the prior six administrative reviews and

original investigation.

       On October 22, 2019, Commerce sent a New Subsidy Allegations Questionnaire to Guyu

which requested information for the provision of the following inputs for LTAR: plywood, sawn

wood and continuously shaped wood, particleboard and fiberboard. Guyu responded to this

questionnaire on November 8, 2019. In the spirit of cooperation and full disclosure, Guyu

reported purchases of poplar core sheets from its affiliate Siyang County Shunyang Wood Co.,

Ltd (“Shunyang”). In the response, Guyu explained its use of these poplar core sheets in the

assembly of plywood cores within multilayered wood flooring.

       On November 21, 2019, Petitioner first took the position that poplar core sheets were

covered by the veneers LTAR program.14 Before then, Guyu had no reason to believe that any

subsidy rate would result from these purchases and, in any event, would have been unable to



12
  See Memorandum to the File: Extension Request for New Subsidy Allegations and Benchmark
Information (August 1, 2019).
13
  See e.g., Government of China’s Initial Benchmark Submission (August 12, 2019);
Benchmark Data Submission on behalf of Baroque Timber (August 12, 2020).
14
 See Letter on Behalf of Petitioner: Comments on Jiangsu Guyu’s New Subsidy Allegations
Questionnaire Response (Nov. 21, 2019).


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submit benchmark information on poplar core sheets since the benchmark deadline was two

months earlier, on August 12, 2020.

         Commerce published its preliminary results on February 6, 2020.15 In the Preliminary

Results, Guyu was assigned a CVD rate of 123.26 percent of which 112.23 percent resulted from

the “Provision of Veneers for LTAR”.

         In its calculation of the “Provision of Veneers for LTAR”, Commerce treated Guyu’s

purchases of the input “poplar core sheets” the same as decorative outer layer veneers despite

information on the record that Guyu’s poplar core sheets are used to make basic plywood cores

inside the subject flooring.

         On March 6, 2020, Guyu requested that Commerce reopen the record to allow parties to

submit information regarding the use of poplar core sheets in the manufacture of multilayered

wood flooring.16 Commerce refused to reopen the record.17

         On March 13, Guyu filed its administrative case brief challenging certain decisions and

findings in Commerce’s Preliminary Results, including: (1) selection of mandatory respondents;

(2) inclusion of poplar core sheets in any benefit calculation and mischaracterization of poplar

core sheets as veneers; (3) the application of AFA to determine that individual polar wood

farmers are state “authorities”; (4) finding of cross-ownership between Guyu’s affiliates; (5)

barring parties from submitting factual information, including Benchmark Information, for



15
  See Multilayered Wood Flooring from the People’s Republic of China: Preliminary Results of
Countervailing Duty Administrative Review, and Intent to Rescind Review, in Part, 2017. 85 Fed.
Reg. 6908 (Dep’t Commerce, Feb. 6, 2020) (“Preliminary Results”).
16
  See Letter on Behalf of Guyu: Request to Open the Record for New Factual Information
(March 6, 2020).
17
     See Letter to Guyu: Denial of New Factual Information Submission Request (March 10, 2020).


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poplar wood after Commerce determined poplar core sheets to be veneers; and (6) Commerce’s

double counting of poplar core sheets in the Provision of Veneers for LTAR, as well as in the

Provision for Plywood for LTAR.18 Guyu also incorporated arguments presented in case briefs

by other respondents and the GOC, and on March 24, 2020 filed a rebuttal brief addressing

issues raised in Petitioner’s administrative case brief.19

         In their case briefs, other parties argued that: (1) Commerce used an incorrect benchmark

to determine LTAR for plywood; (2) the ECBP was not used in this proceeding; and (3)

Commerce’s countervailing of unalleged subsidies requested through the “other subsidies”

question in the Questionnaire was unlawful.20

         On November 27, 2020, Commerce published the Final Results. Commerce had based

its Preliminary and Final Results on the responses of Guyu and Baroque Timber which it

selected as mandatory respondents, despite evidence on the record that they were not the largest

exporters during the POR (i.e., respondent selection comments from parties and the quantity and

value information submitted by Guyu through its questionnaire response).

         In the Final Results, just as it had in the Preliminary Results, Commerce again

countervailed poplar core sheet purchases based on a mischaracterization of core sheets as

veneers.




18
   See Resubmittal of Case Brief on Behalf of Guyu, (March 19, 2020) (“Guyu Case Brief”); see
also Case Brief on Behalf of Fine Furniture (Shanghai Limited) and Double F Limited (“Fine
Furniture”) (March 13, 2020); Case Brief on Behalf of Senmao, Sino-Maple, and Keri Wood
(March 13, 2020), Case Brief on Behalf of Government of China (“GOC”).
19
     See Rebuttal Case Brief on Behalf of Guyu (March 24, 2020).
20
  See Case Brief on Behalf of Baroque Timber (March 13, 2020); Case Brief on Behalf of GOC
(March 13, 2020); Case Brief on Behalf of Fine Furniture (March 13, 2020).
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          In the Final Results, Commerce assigned Baroque Timber a rate of 14.09 percent and

assigned Jiangsu Guyu a rate of 122.92 percent. Non-selected respondents subject to review,

including Plaintiff-Intervenors, were assigned a margin of 20.75 percent based on the weighted

average of the two mandatory respondents.

                                      SUMMARY OF ARGUMENT

          Commerce’s calculation of a CVD rate of 122.92 percent for Guyu was unsupported by

substantial evidence and otherwise not in accordance with law.

          First, Commerce erred in selecting Guyu as a mandatory respondent based exclusively on

erroneous CBP import data despite Petitioner and respondents having rebutted the presumption

of regularity attaching to such data. Therefore, Commerce’s decision to select Guyu was not

supported by record evidence and was otherwise contrary to the law.

          Second, Commerce’s determination that individual poplar farmers are “authorities” is not

supported by record evidence and was otherwise contrary to the law. Commerce’s reliance on its

own Public Bodies Analysis memo shows that the concept of an “authority”, as required by the

statute and the WTO Agreement, necessitates that a government entity or a commercial entity

acting as a government agent be responsible for the passing on of a benefit. An individual farmer

is a natural person and does not meet this definition.

          Third, Commerce’s finding of cross-ownership through blood relations was unsupported

by substantial evidence and contrary to law. The Department’s assertion in its Issues and

Decision Memorandum that “these companies can use or direct the individual assets of the other

corporation(s) in essentially the same ways they can use their own assets” is conclusory and

unsupported by any evidence on the record.21



21
     See Final IDM, at 18.
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         Fourth, Commerce’s decision to countervail poplar core sheets under the provision for

veneers for LTAR was unsupported by substantial evidence and contrary to law. The record

demonstrates that poplar core sheets were not used by Guyu as veneers and simply because they

are “thin slice{s} of wood” does not make them veneers in the multilayered wood flooring

industry. Commerce’s decision to countervail Guyu’s poplar core sheet purchases is

unreasonable and unsupported by substantial evidence.

         Fifth, Commerce’s decision to double count poplar core sheets under provisions for

veneers and plywood for LTAR was unsupported by substantial evidence and contrary to law.

         Sixth, Commerce’s application of AFA in finding use and benefit from the Export Buyers

Credit Program was unsupported by substantial evidence and contrary to law. This Court has

repeatedly found that Commerce cannot find use and benefit from the Export Buyers Credit

Program where there is evidence of non-use. As in Yama Ribbons and Bows Co., Ltd. v. United

States, the Court should once again remand review of this program to Commerce for

consideration of the certificates of non-use by the mandatory respondents.22

         Finally, Commerce’s countervailing of “Other Subsidies” is unsupported by substantial

evidence and contrary to law. Under U.S. law and the commitments made under Article 11.2 of

the SCM Agreement, Commerce must initiate an investigation based on specific allegations and

evidence, not a broad statement requesting information from private companies.

         In summation, the Court should remand this determination to Commerce to rectify the

issues identified above.




22
     Yama Ribbons and Bows Co., Ltd. v. United States, Slip Op. 21-50 (Apr. 30, 2021).
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                          STANDARD OF REVIEW AND JURISDICTION

       This Court must “hold unlawful any determination, finding, or conclusion found … to be

unsupported by substantial evidence on the record, or otherwise not in accordance with law.” 19

U.S.C. § 1516a(b)(1)(B)(i). “Substantial evidence is more than a mere scintilla. It means such

evidence as a reasonable mind might accept as adequate to support a conclusion.” Universal

Camera Corp. v. NLRB, 340 U.S. 474, 477 (1951), quoting Consolidated Edison Corp. v. NLRB,

305 U.S. 197, 229 (1938). This standard “requires more than mere assertion of ‘evidence which

in and of itself justified {the determination}, without taking into account contradictory evidence

or evidence from which conflicting inferences could be drawn.’” Gerald Metals, Inc. v. United

States, 132 F.3d 716, 720 (Fed. Cir. 1997) (quoting Universal Camera Corp. v. NLRB, 340 U.S.

474, 487 (1951)). The existence of substantial evidence must be determined in view of the

record as a whole, including “whatever in the record fairly detracts from its weight.” Id. (quoting

Universal Camera, 340 U.S. at 488).

       Plaintiff-Intervenors bring this action pursuant to section 516A of the Tariff Act of 1930,

as amended (19 U.S.C. § 1516a(a)(2)(A)(i)(I) and §§1516a(a)(2)(B)(iii)), which provides that

certain antidumping or countervailing duty orders on the record are reviewable by this Court.

This Court has exclusive jurisdiction of this action pursuant to 28 U.S.C. § 1581(c), which

provides jurisdiction over civil actions commenced under 19 U.S.C. § 1516a. The standard of

review, as set forth in section 516A(b)(1)(B)(i) of the Act and reviewed above, 19 U.S.C. §

1516a(b)(1)(B)(i), is whether the determinations, findings, or conclusions of Commerce were

“unsupported by substantial evidence on the record, or otherwise not in accordance with law.”

       On November 27, 2020, Commerce published the Final Results in the Federal Register.

Plaintiff-Intervenors filed their Summons and Complaint concurrently on December 18, 2020,



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within 30 days of said publication.23 Thus, Plaintiff-Intervenors’ Summons and Complaint were

timely filed pursuant to 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I) and 1516a(a)(2)(B)(iii) and USCIT

Rule 3(a)(2). On March 1, 2021, the action filed by Plaintiff-Intervenors was consolidated under

lead Case No. 20-3885.24

                                               ARGUMENT

     I.   COMMERCE ERRED BY EXCLUSIVELY RELYING ON CBP DATA TO
          SELECT MANDATORY RESPONDENTS

          When Commerce uses CBP data to select mandatory respondents in CVD proceedings, a

presumption of regularity attaches to this data. The record in the underlying administrative

review of MLWF from China contains evidence rebutting this presumption in the form of

conversion reporting errors (wrong units of measurement) and quantity and value information

reported by Guyu in its Questionnaire response.

          Commerce relied exclusively upon import data obtained from CBP to select companies

for individual examination despite respondents and Petitioner having rebutted the presumption of

regularity attaching to that data. In doing so, Commerce also contravened its own policy to select

mandatory respondents by largest volume. Commerce’s determination was unsupported by

substantial evidence or in accordance with law.

          A. Legal Requirements for Selecting Mandatory Respondents

          Commerce is authorized in specific instances to limit the number of exporters or

producers that they agency investigates.25 The statute allows Commerce to limit the number of



23
 See Jiangsu Guyu International Trading Co., Ltd. v. United States, Ct. No. 20-03919, ECF
Nos. 1 and 9.
24
     See Order, ECF 34.
25
     See 19 U.S.C. § 1677f-1(2).
                                                  18
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exporters or producers reviewed only where the agency either reviews: “(A) a sample of

exporters, producers, or types of products that is statistically valid based on the information

available to the administering authority at the time of selection, or (B) exporters and producers

accounting for the largest volume of the subject merchandise from the exporting country that can

be reasonably examined.”26 In this administrative review, Commerce elected to limit the number

of exporters or producers reviewed employing the methodology set forth by the second option.27

In selecting mandatory respondents by largest volume, Commerce relied upon entries that

importers identify to CBP as being subject to the CVD Order.

           The methodology by which Commerce selects the “exporters and producers accounting

for the largest volume,” will be upheld if it is “reasonable… and is not arbitrarily applied.”28

However, Commerce’s exclusive reliance on CBP data despite evidence of substantial

conversion errors fails to reasonably identify exporters and producers “accounting for the largest

volume of the subject merchandise from the exporting country that can be reasonably examined”

as significant volumes of subject merchandise are likely misreported by U.S importers.

Moreover, the fact that immediately following its respondent selection Commerce was presented

with further proof that CBP data was inaccurate when it received Guyu’s Questionnaire




26
     Id.
27
  See Memorandum from Suzanne Lam, International Trade Analyst to Irene Darzenta
Tzafolias, Director Office VIII: Respondent Selection (May 21, 2020), at 3.
28
  Pakfood Pub. Co. v. United States, 772 F. Supp. 2d 1327, 1338 n.18 (Ct. Int’l Trade 2010)
(“Pakfood I”) (quoting 19 U.S.C. § 1677f-1(c)(2)(B) (2000) (citations omitted).


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response, including the company’s actual quantity and value information, casts sufficient doubt

on the presumption that CBP has assured the accuracy such data for this POR.29

           B. Petitioner and Respondents Identified Errors and Proposed Alternatives to
              Exclusive Reliance on Flawed CBP Data

           When Commerce relies upon CBP data to select mandatory respondents, that data is

afforded a presumption of regularity. This presumption was rebutted in the underlying

administrative CVD review of MLWF from China. The record contains evidence that entries of

subject merchandise had not been accurately reported due to inconsistent units of measurement.

As Petitioner explained in its respondent selection comments:

           [
                                                                                           ]. For
           example, [                                                    ] is reported as having
           entered shipments of [                                            ] of flooring; and,
           [                          ] is reported as having entered shipments of [
                                             ] of flooring. Critically, these shipments-and they
           are not the only ones-have [
                                               ]. Such a severe difference suggests that these
           entries have not been accurately reported. Indeed, the [

                                   ]. Further, several entries in the CBP data report [
                                                   ]. Such entries again suggest inaccurate
           reporting. Taken together, these errors greatly skew the CBP data such that it is
           difficult to ascertain which companies accounted for the largest volumes of
           entries.30

Petitioner urged Commerce to alleviate the uncertainty as to which companies accounted for the

largest volumes and overcome the deficiencies in the CBP data by issuing Quantity and Value

(“Q&V”) questionnaires to all companies listed in the CBP data.31 Commerce regularly issues



29
     See Guyu’s Questionnaire Response (July 15, 2019), at Exhibits II-20 through II-23.
30
  See Letter on Behalf of AMMWFL Comments on CBP Data and Respondent Selection (March
21, 2019), at 3-4 (Proprietary Version).
31
     Id., at 4.
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these questionnaires as part of its mandatory respondent selection process – both in conjunction

with and instead of CBP data.32 Q&V responses allow Commerce and interested parties to evaluate

the accuracy of CBP data because they are provided by the producers and exporters themselves,

in contrast to the CBP entry data that are provided by the importers.

        Other parties identified the same inaccuracies in the CBP data in this review and urged

Commerce to issue Q&V’s. Senmao, which requested selection as a voluntary respondent,

indicated that [




                                                         ].33

        As these comments conveyed, the only reasonable determination was for Commerce to

disregard the CBP data and request Q&V responses from exporters, but Commerce refused to do

so. There was enough time between the deadline for parties to comment on CBP data (March 21,




32
  See Multilayered Wood Flooring From the People’s Republic of China: Final Results and
Partial Rescission of Countervailing Duty Administrative Review; 2014, 82 Fed. Reg. 22,311
(Dep’t Commerce May 15, 2017) and Countervailing Duty Administrative Review: Multilayered
Wood Flooring from the People’s Republic of China: Respondent Selection: 2014 (“Respondent
Selection Memorandum”). In this, the 2014 review of the same CVD order on MLWF from
China, parties’ submitted concerns over erroneous CBP data put on the record. In response, the
Department issued Q&V questionnaires and corrected the issues addressed by the parties,
selecting the appropriate, largest-quantity importers as a result of these corrections in the record.
See Respondent Selection Memorandum at 4.
33
 Letter on Behalf of Senmao: Comments on CBP Data and Request for Issuance of Q&V
Questionnaires (Mar. 21, 2019), at 2-3 (Proprietary Version).


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2019), and the date of Commerce’s Respondent Selection Memorandum (May 21, 2019), to at

least issue Q&V’s to a select few companies that appeared to be the largest exporters in the CBP

data, flawed as it was.

           This Court has found that it is unreasonable for Commerce to ignore facial evidence of

CBP data errors.34 Here, Commerce did exactly that and selected Guyu and Baroque Timber as

mandatory respondents.35 Commerce reasoned that Guyu and Baroque Timber were chosen as

they accounted “for the largest volume of subject merchandise that can be reasonably examined”

based on “entry data obtained from CBP.”36 The agency’s position, reiterated in the Final

Results,37 disregarded claims made by interested parties regarding the unreliability of the CBP

data.38 Commerce stated in its selection memorandum that “no party has provided evidence to

support the claim” that Guyu should not be selected nor had they “provided any information on

the record regarding the CBP’s data collection methodology or other documents to support their

claims that the CBP data is unreliable.”39




34
  See Husteel Co. v. United States, 98 F. Supp. 3d 1315, 1327 n.8 (Ct. Int’l Trade 2015) (finding
that where “Commerce wishes to rely on CBP data for respondent selection, it is unreasonable
for Commerce to ignore evidence on the face of that data suggesting that the actual number of
potential respondents is likely less than the number of companies separately listed”).
35
  See Mem. to Irene Darzenta Tzafolias from Suzanne Lam re: Countervailing Duty
Administrative Review of Multilayered Wood Flooring from the People’s Republic of China:
Respondent Selection (May 21, 2019) (“Respondent Selection Memo”) at 4.
36
     Id. at 4-5.
37
     See Final IDM, at 14-16.
38
     See Respondent Selection Memo at 5.
39
     Id. at 5.


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          Commerce’s explanation is insufficient because it is well understood that detailed import

entry information reported to CBP is confidential and that exporters and Petitioner would not

have access to such data. Importers are not in the habit of sharing their shipment information

with the public or their own suppliers, nor is CBP willing to detail its methods of collecting and

recording this data.

          After selecting Guyu and Baroque Timber as mandatory respondents, on May 24, 2019,

Commerce issued the review Questionnaire to Guyu.40 The Questionnaire required that Guyu

report the total quantity and value of its sales of subject merchandize to the United States during

the POR, the same information which CBP data was presumed to have provided.41

          On May 28, 2019, Guyu filed comments on Commerce’s respondent selection and

included its actual quantity and value of exports to the United States during the POR – the same

information which Commerce requested from Guyu in the Questionnaire.42 Since it was now

selected as a mandatory respondent, Guyu attempted to place this information on the record to

inform Commerce of the vast disparity between its actual quantity and value information and the

CBP data relied upon by Commerce. However, on May 30, 2019, Commerce rejected Guyu’s

comments on the grounds that they were submitted after the deadline for comment on respondent




40
  See Letter to Ms. Liu Fang, First Secretary, Embassy of the People’s Republic of China (May
24, 2019) (“Questionnaire”).
41
     See Questionnaire, at III-7.
42
  Letter on Behalf of Guyu: Comments on Respondent Selection Memoranda on behalf of Guyu
(May 28, 2019) (Rejected).


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selection, notwithstanding the fact that the comments included the same quantity and value

information which Commerce asked for in the Questionnaire.43

         On July 15, 2019 Guyu filed its Questionnaire response which again included its actual

quantity and value of exports to the United States during the POR. Section III Questionnaire

Response on behalf of Guyu (July 15, 2020). This information was materially the same quantity

and value information which Guyu had offered to Commerce on May 28, 2019, which

Commerce refused to consider for the record at that time. In the Questionnaire response, Guyu

reported that its sales of subject merchandise to the United States during 2017 (the POR) were

[                                                             ]44 This is exponentially less than the

[                       ]45 from the CBP data relied upon for Guyu by Commerce in its

respondent selection process.

          In its Final Results, Commerce attempted to justify its respondent selection and

distinguish it from the Court’s decision in Husteel Co. v. United States as irrelevant as the issue

in that case was the number of respondents selected rather than whether CBP data was unreliable

for respondent selection.46 However, the Court determined in Husteel Co. that Commerce cannot

turn a blind eye to arguments made by parties regarding respondent selection, regardless of the




43
  See Letter to Guyu: Rejection of Untimely Respondent Selection Comments (May 30, 2019);
see also Response to the Department’s Rejection of Comments on behalf of Jiangsu Senmao
(May 31, 2019); Response on behalf of Senmao on Department’s Rejection of Guyu’s
Comments of May 28, 2019 (June 3, 2019).
44
   See Guyu Questionnaire Response (July 15, 2019), at Exhibit II-20. See Conversion calculator
https://www.convertunits.com/from/kilo+gram/to/cubic+metre
45
     Data from Commerce to File Pertaining to Interested Parties CBP Data (March 14, 2019).
46
     See Final IDM at 16.


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discretion afforded to the agency by Congress in this process.47 In Husteel Co., Commerce

limited the investigation to two parties based solely on the volumes reported by CBP without

regard to the representation of the manufacturing companies on the state of the industry as a

whole due to differences between products imported to the United States from different

companies (i.e., Commerce relied solely on the second option allowed in the statute, without

regard for the reasonableness of that selection as a representative sample).48 Here, parties have

argued that Commerce failed to meet the requirements of the second option in the statute, largest

import volumes, prior to even evaluating whether the selected companies were representative of

the industry as a whole.

           Commerce continued to rely exclusively on flawed CBP data in the Final Results but did

not provide appropriate justification for its course. The administrative convenience of CBP data

and the fact that they are obtained through government authority are inadequate bases to rely

upon for respondent selection in light of evidence casting doubt on the accuracy of that data.

Because Petitioner and respondents carried their burden of rebutting the presumption of

regularity, Commerce’s unwillingness to consider the evidence of unit conversion errors on the

record makes its exclusive reliance only on flawed CBP data not supported by substantial

evidence or otherwise in accordance with law. The Court should therefore remand to Commerce

with instruction to rescind the respondent selection of Guyu in the underlying administrative

review.




47
     Husteel Co. v. United States, 98 F. Supp.3d 1315, 1331 (Ct. Int’l Trade 2015).
48
     Id.


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 II.       INDIVIDUAL POPLAR FARMERS ARE NOT “AUTHORITIES”

           In the Final Results, Commerce determined that individual farmers which supplied Guyu

with poplar core sheets are “authorities” within the meaning of section 771(B) of the Act 19

U.S.C. § 1677.49 Commerce reached this conclusion using AFA and claimed that the GOC

withheld information regarding Guyu’s input suppliers.50 Commerce’s decision ignores the basic

fact that these farmers are individuals and private natural persons, and therefore, the questions

posed by Commerce in its standard Input Producer Appendix are inapplicable to such suppliers

because they are intended for “entities” and “companies.” Commerce claimed that

           CCP {Chinese Communist Party} officials are present in... Guyu’s (including Shengyu
           and Shunyang) input suppliers as individual owners, managers and members of the
           boards of directors, and that this gives the CCP, as the government, meaningful control
           over these companies and their resources.51

Commerce cited to its Public Bodies Analysis Memoranda (“PBAM”), noting that

“an entity with significant CCP presence on its board or in management or in party committees

may be controlled, such that it possesses, exercises, or is vested with governmental authority.”52

           However, Commerce’s assumption is based entirely on the concept of “entities” as

enterprises and the GOC’s control over them, as well as on corporate governance and industrial

policy as it concerns those enterprises. In fact, the PBAM do not focus on natural persons.

Rather, they are replete with references to enterprises and government control over them. The



49
     See Final IDM at 29.
50
     Id. at 30.
51
     See Prelim. IDM, at 20.
52
     Id.


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first of these memoranda is titled: “Update of the Public Bodies Analysis of State-Invested

Enterprises in China for Countervailing Duty Purposes.”53 The title of another memorandum

included with the PBAM is “The Relevance of the Chinese Communist Party for the Limited

Purpose of Determining Whether Particular Enterprises Should be Considered to be “Public

Bodies” Within the Context of a Countervailing Duty Investigation”.54

           The memorandum further states:

           Therefore, based on record evidence in these Section 129 proceedings and in other
           countervailing duty proceedings involving imports from the People’s Republic of
           China (China), the Department’s public body analysis includes an inquiry into the
           role of CCP representatives in enterprises, in order to develop sufficient
           information to enable the Department to determine whether the presence and role
           of any such CCP officials may inform a finding of government control over such
           enterprises.55

The PBAM cover entities which Commerce believes are controlled by the CCP. According to

Commerce, these include: Central Entities;56 Local Entities: Congresses and Committees;57

Villagers’ Committees;58 and Ministries.59 There is no mention whatsoever of individuals or

natural persons. That is because individuals (like the poplar farmers in this instance) are not

public bodies or entities.




53
     Public Bodies Analysis Memo, at Attachment I.
54
     Id., at Attachment III.
55
     Id., at 2.
56
     Id., at 13-20.
57
     Id., at 15.
58
     Public Bodies Analysis Memo, at 17.
59
     Id., at 19.


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         As its title clearly indicates, the focus of the PBAM on public bodies. Commerce’s

assertion in this case has taken the meaning of “public bodies” to an absurd and unlawful

extreme. The statute defines a countervailable subsidy as “the case in which an authority . . .

provides a financial contribution to a person and a benefit is thereby conferred.”60 This Court has

recognized that “the Statement of Administrative Action accompanying the Uruguay Round

Agreements Act, which resulted in Congress passing 19 U.S.C. § 1677(5)(B), clarifies that

Congress intended “the term ‘person’ to identify the commercial entity, such as a firm or

industry, to which the government or public body provides a financial contribution.”61

         Similarly, the statute, at 19 U.S.C.§ 1671(a)(1) instructs that if :

         the government of a country or any public entity within the territory of a country is
         providing, directly or indirectly, a countervailable subsidy with respect to the
         manufacture, production, or export of a class or kind of merchandise imported, or
         sold (or likely to be sold) for importation, into the United States” then “a
         countervailing duty shall be imposed upon such merchandise.”

         In both authorities cited above, the terms “public body” and “public entity” are used

interchangeably. An individual private poplar farmer does not meet either of these definitions,

nor is the farmer an “enterprise” as described by Commerce’s PBAM.

         In its Final Results, Commerce persists in its assertion that the government in China can

influence even individual farmers:

         (1) by ‘state-invested enterprise,’ Commerce means enterprises in which the
             government of China has an ownership stake of any size’62 (Emphasis added.).


60
     19 U.S.C. § 1677(5)(B).
61
   Beijing Tianhai Indus. Co. v. United States, 52 F. Supp. 3d 1351, 1363 (Ct. Intl Trade 2015)
(citing Uruguay Round Agreements Act, Statement of Administrative Action, H.R. DOC. NO.
103-316, at 925 (1994), reprinted in 1994 U.S.C.C.A.N. 4040, 4239).
62
  Public Bodies Analysis Memoranda at Attachment I, “Update of the 2012 Public Bodies
Analysis of State- Invested Enterprises in China for Countervailing Duty Purposes” (Feb. 27,
2019) at 2.
                                                   28
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           (2) The decision by the Department that the “CCP exercises ‘ultimate control over
               citizens and resources, including authority over issues and resources as varied
               as family and economic planning, as well as the military’63 (Emphasis added.);
               and

           (3) that the CCP exerts significant control over economic activities in China.64

Based on this loose interpretation, Commerce could use AFA to determine any person was the

entire state of China and able to confer a benefit, simply from an absence of information

regarding their affiliation with the CCP or a community-based organization. This is an

aggressive and unlawful overstep of the WTO Agreement, the statute, and Commerce’s own

regulatory interpretation. Based on the foregoing, Commerce’s determination that individual

poplar farmers are “authorities” and meet the definition of enterprise, public body, or public

entity is contrary to law.

III.       COMMERCE’S FINDING OF CROSS-OWNERSHIP THROUGH BLOOD
           RELATIONS WAS UNSUPPORTED BY SUBSTANTIAL EVIDENCE AND
           CONTRARY TO LAW

           In the Final Results, Commerce continued to find that Guyu, Shunyang, and Jiangsu

Shengyu Flooring Co., Ltd. (“Shengyu”) were cross-owned within the meaning of 19 CFR

§ 351.525(b)(6)(vi) by virtue of common ownership.65 By making this connection, Commerce

attributed subsidies allegedly passed by individual poplar farmers on to Shunyang for its




63
  See Public Bodies Analysis Memoranda at Attachment III, “The Relevance Of The Chinese
Communist Party For The Limited Purpose Of Determining Whether Particular Enterprises
Should Be Considered To Be ‘Public Bodies’ Within The Context Of A Countervailing Duty
Investigation” (May 18, 2012) at 33.
64
     Id.
65
     See Final IDM at 18.


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purchases of poplar core sheets, and therefore through to Guyu. Commerce’s CVD questionnaire

defines cross-ownership as:

           Cross-ownership exists between two companies where one company can use or
           direct the individual assets of another company in essentially the same ways it can
           use its own assets. Normally, such a relationship exists between two companies
           where one company holds, directly or indirectly, a majority voting interest in the
           other. In addition, if two companies are both cross-owned by a third party, the two
           companies themselves would be considered cross- owned (for example, cross-
           ownership exists between two companies owned by the same parent).66

           As Guyu explained in its Questionnaire response, the only nexus between Shunyang and

Shengyu is a family relationship between their shareholders.67 [              ], a shareholder of

Shunyang, is the father of [              ], the shareholder of Guyu and Shengyu.68 This

relationship does not allow either of these individuals to “direct the individual assets of another

company in essentially the same ways it can use its own assets.”69 Moreover, neither company

“holds, directly or indirectly, a majority voting interest in the other.”70

           Accordingly, a simple family relationship between the shareholders of Shunyang and

Shengyu does not establish that either of these companies is legally or operationally in a position

to exercise restraint or direction over the other so as to control them within the meaning of the

statute. Nor, contrary to the Department’s assertions, does Guyu’s identification of the




66
     See CVD Questionnaire (May 24, 2019), at III-3.
67
  See Guyu Section III Supplemental Questionnaire Response (Sept. 30, 2019) (“Guyu SQR”) at
2-3.
68
   See Guyu Section III Initial Questionnaire Response (July 15, 2019) (“Guyu IQR”) at Exhibit
II-1.
69
     See CVD Questionnaire (May 24, 2019) at III-3.
70
     Id.

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companies as affiliates.71 Commerce’s assertion that “these companies can use or direct the

individual assets of the other corporation(s) in essentially the same ways they can use their own

assets” 72 is conclusory and Commerce’s application of LTAR provisions across these companies

was unlawful and unsupported by substantial evidence.

IV.        COMMERCE’S DECISION TO COUNTERVAIL POPLAR CORE SHEETS
           UNDER THE PROVISION FOR VENEERS FOR LTAR WAS UNSUPPORTED
           BY SUBSTANTIAL EVIDENCE AND CONTRARY TO LAW

           On October 22, 2019, nearly four months before Commerce’s Preliminary Results were

issued, Commerce sent a New Subsidy Allegations Questionnaire (“NSA Questionnaire”) to

Guyu which requested information for the provision of the following inputs for LTAR: plywood,

sawn wood and continuously shaped wood, particleboard and fiberboard. In the spirit of full

cooperation, in its response to the NSA Questionnaire Guyu reported purchases of poplar core

sheets from its affiliate Shunyang and indicated that poplar core sheets are made from lower

density (softer) wood and are used for manufacture of the plywood core (core being the interior

layer of the flooring).73 Guyu contrasted this to face veneers made of higher density (harder)

wood used for flooring surfaces which can withstand wear and tear unlike poplar.74

           Guyu had no reason to expect that Commerce would equate poplar core sheets with the

veneers LTAR program since Guyu used poplar to make plywood cores. Commerce never made

a separate subsidy allegation on core sheets as it did for plywood and veneers. Petitioner also



71
     See IDM at 18.
72
     Id.
73
  See Guyu’s Response to New Subsidy Allegations: Multilayered Wood Flooring from the
People’s Republic of China (November 8, 2019), at 1-2 (“NSA Questionnaire Response”).
74
     Id.


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never included poplar core sheets in any of its submissions prior to Guyu’s NSA Questionnaire

response. The only instance where “poplar” appears is in Petitioner’s benchmark submission

with respect to the plywood benchmark.75 For this Petitioner reported commodities under

Harmonized Tariff Schedule (“HTS”) 4412.33 covering “{p}lywood; with sheets of wood only;

not bamboo; each ply 6mm or less, with at least one outer ply of alder, ash beech, birch, cherry,

chestnut, elm, eucalyptus, hickory, horse chestnut, lime, maple, oak, plane, poplar, aspen,

robinia, tulipwood or walnut.”76 However, even this HTS subheading does not cover “poplar

core sheets”, but rather wooden flooring with an outer ply made of poplar, which is different

from core made of poplar.

           If Commerce had intended to include core sheets under the veneers LTAR program, then

Commerce would have included plywood under this program as well since plywood is made of

individual thin slices of wood sandwiched together at different angles.

           Despite evidence to the contrary, in its Preliminary Results Commerce determined that

“Shunyang’s reported poplar core sheets are veneers.”77 Commerce based this purely on

semantics, specifically on one line in the scope of the CVD order – “thin slice of wood,” the

definition provided for “veneer.”78 Commerce explained:




75
  See Letter on behalf of AMMWF to Commerce re: Multilayered Wood Flooring from the
People's Republic of China: Other Factual Information and Benchmark Pricing Information
Regarding New Subsidy Allegations at Exhibit 1 (Nov. 13, 2019).
76
     Id.
77
  Decision Memorandum for the Preliminary Results in the Countervailing Duty Administrative
Review of Multilayered Wood Flooring from the People’s Republic of China; 2017 (January 31,
2020), at 18 (“Prelim IDM”).
78
     Id. at 34.


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           However, as described above under “Scope of the Order,” at footnote 4, a “veneer”
           is a thin slice of wood, rotary cut, sliced or sawed from a log, bolt or flitch. Veneer
           is referred to as a ply when assembled. The poplar core sheets purchased by
           Shunyang are thin slices of wood, which, as previously noted, are veneers as
           defined by the scope. Accordingly, for these preliminary results, we have included
           these poplar core sheet purchases in our calculation of veneers for LTAR.79

           Commerce presented no evidence from this or any prior record in the MLWF proceeding

to support that poplar core sheets were used as “veneers” rather than for plywood cores as Guyu

demonstrated. Commerce’s determination to countervail Guyu’s poplar core sheet purchases was

unreasonable and illogical. It made it so there was virtually no core and that most of Guyu’s

flooring – and its cost – was made up of expensive face-grade hardwood veneers. A review of

Commerce’s preliminary subsidy rate calculation demonstrates the irrationality of this finding: of

the total 123.26 percent rate assigned to Guyu, 112.23 percent was attributable to the Provision

of Veneers for LTAR and just 7.49 percent to the Provision for Plywood and the Provision for

Fiberboard combined.80

           Commerce’s reliance on the definition of “veneer” from the Scope of the Order was

misplaced given contrary evidence on the record that Guyu used poplar core sheets to make

plywood. In fact, the Scope provides that

           Multilayered wood flooring is composed of an assembly of two or more layers or
           plies of wood veneer(s) in combination with a core. The several layers, along with
           the core, are glued or otherwise bonded together to form a final assembled
           product.81




79
     Id.
80
  See Commerce Memorandum: Preliminary Results Calculations for Jiangsu Guyu
International Trading Co., Ltd., (January 31, 2020), at 8.
81
     See Prelim. IDM at 6 (emphasis added).


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         The Scope language clearly differentiates “veneers” from “core”. In other words, MLWF

consists of two parts, veneer(s) and a core, whereby veneer refers to parts other than the core

(which may be a face veneer or back veneer).

         Furthermore, Guyu explained in its NSA Questionnaire Response, there are notable

differences between veneers and poplar core sheets, such as type of wood, application, density

and pricing.82

         Since Commerce had disregarded this evidence, Guyu requested that the agency allow

parties to provide additional information regarding the use of poplar core sheets in the

manufacture of MLWF.83 Even though Commerce had six months to review such information

before the Final Results, it refused to reopen the record.84

         As Guyu explained in its case brief, Commerce’s determination “fails to consider that

poplar is not used by Guyu as a face-grade veneer. Rather, as a lower density (softer wood) it is

used as an input in the plywood core of the MLWF. Specifically,

         one of Poplar’s only downsides is its softness… Seldom used for its
         appearance… Poplar is a utility wood in nearly every sense. It’s used for pallets,
         crates, upholstered furniture frames, pulpwood, and plywood.”85

         The fact that poplar core sheets are “thin slice{s} of wood” does not make them veneers

in the MLWF industry. Plywood too consists of “thin slice{s} of wood” stacked on top of each

other. However, Commerce did not include plywood under the veneers LTAR program. Instead,



82
     See NSA Questionnaire Response at 1, and Exhibit NSA-4.
83
     See Guyu’s Request to Open the Record for New Factual Information (March 6, 2020).
84
     See Letter to Guyu: Denial of New Factual Information Submission Request (March 10, 2020).
85
  Guyu Case Brief, at 10; citing to Benchmark Data Submission of Baroque Timber (August 12,
2019).


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Commerce considered plywood a different subsidy and issued a questionnaire with respect to it

(i.e., the NSA Questionnaire). Both core sheets and plywood are distinct from veneers. The fact

that Commerce has separate LTAR programs for veneers and plywood is a confirmation of this

difference. Commerce cannot shoehorn core into the veneers LTAR program without a new

subsidy allegation of core sheets.

       Commerce continued to group poplar core sheets under the LTAR program in its Final

Results calculation in which of the total 122.92 percent final rate assigned to Guyu, 112.23

percent was under the Provision of Veneers for LTAR, and just 7.15 was under the Provisions of

Plywood and Fiberboard for LTAR combined.86 This conclusion ignored commercial reality, the

physical differences between core sheets and veneers, disparate pricing between the two, and the

lack of any subsidy allegation on core sheets in the review. Accordingly, Commerce’s

determination to countervail Guyu’s poplar core sheet purchases is unreasonable and

unsupported by substantial evidence.

V.    COMMERCE’S DECISION TO DOUBLE COUNT POPLAR CORE SHEETS FOR
      LTAR WAS UNSUPPORTED BY SUBSTANTIAL EVIDENCE AND CONTRARY
      TO LAW

       In the Final Results, Commerce calculated a 112.23 rate for Guyu’s purchases of poplar

core sheets using the Provision of Veneers for LTAR. Commerce also calculated a 7.13 rate for

Guyu under the Provision of Plywood for LTAR. Commerce erred in counting internally

consumed poplar as part of the latter calculation.

       As noted, Shunyang purchased the poplar core sheets as materials to produce plywood,

and then sold the plywood to Shengyu as core material to produce MLWF. Commerce treated




86
  See Commerce Memorandum: Final Results Calculations for Jiangsu Guyu International
Trading Co., Ltd. (November 23, 2020), at 3.
                                                35
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Shunyang and Shengyu as affiliated and, thus, collapsed them. However, only poplar core sheets

(not the internally consumed plywood) should be treated as purchased materials for LTAR

purposes.

       In other words, where the company purchased an input for LTAR (i.e., poplar core

sheets) in the production of the final product (i.e., plywood), and that final product has already

been itself found to be an LTAR input for production of another product (i.e., MLWF), the

original inputs should not be double counted under separate LTAR programs.

VI.    COMMERCE’S APPLICATION OF AFA IN FINDING USE AND BENEFIT
       FROM THE EXPORT BUYERS CREDIT PROGRAM WAS UNSUPPORTED BY
       SUBSTANTIAL EVIDENCE AND CONTRARY TO LAW

       Commerce’s application of AFA to determine the countervailability of the Export Buyers

Credit Program (“EBCP”) is unsupported by substantial evidence on the record and otherwise

contrary to the law.

       This Court has repeatedly held that AFA may only be applied after the requirements of

countervailability have been met, and that when Commerce invokes its authority to use AFA

“the agency must still make the necessary factual findings to satisfy the requirements for

countervailability.” See 19 U.S.C. §§ 1677e(a)-(c) (providing that, even when using facts

otherwise available with adverse inferences, Commerce must still point to actual information on

the record to make required factual determinations.)87



87
  See Changzhou Trina Solar Energy Co. v. United States, 195 F. Supp. 3d 1334, 1350 (Ct. Int’l
Trade 2016); see also Yama Ribbons and Bows Co., v. United States, No. 18-00054, 2019 WL
7373856 (Ct. Int’l Trade Dec. 30, 2019); Guizhou Tyre Co. v. United States, 415 F. Supp. 3d 1402
(Ct. Int’l Trade 2019); Guizhou Tyre Co. v. United States, 389 F. Supp. 3d 1315 (Ct. Int’l Trade
2019); RZBC Group Shareholding Co. v. United States, No. 15-00022, 2016 WL 3880773 (Ct.
Int’l Trade June 30, 2016) at *5 (“{the Department}’s obligation when drawing an adverse
inference based on a lack of cooperation by a foreign government is to avoid collaterally impacting
respondents to the extent practicable by examining the record for replacement information.”).


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          Commerce’s governing statute defines “financial contribution” as “the direct transfer of

funds, such as grants, loans, and equity infusions, or potential direct transfer of funds or

liabilities, such as loan guarantees.”88

          Both case law and the statute require the application of AFA to be conditioned on cases

in which a respondent fails to complete its burden of proof when there is a financial contribution.

The record demonstrates that Guyu did not use the EBCP, and none of their customers applied

for, used, or benefitted from this program during the period of review.89

          As the Court stated in Yama Ribbons, the question is whether the respondents did or did

not use or benefit from the program.90 In Yama Ribbons, as well as in Guizhou Tyre, Trina Solar,

and Clearon Corp., the CIT held that when the evidence on the record indicates that the EBCP

was not used, the Department cannot apply AFA to determine it was used.91 Furthermore, the



88
     See 19 U.S.C. § 1677(5)(D) (definition of “financial contribution”) (emphasis added).
89
  See Guyu’s Questionnaire Response (July 15, 2019) (“Guyu IQR”), at 12 and Exhibit IV-C-5;
and GOC’s Supplemental Questionnaire Response,” (Oct. 28, 2019), at Exhibit SQ-4.
90
     See Yama Ribbons, 2019 WL 7373856 at *4.
91
  Id.; see also Changzhou Trina Solar Energy Co., Ltd. v. United States, 352 F. Supp. 3d 1316,
1326 (Ct. Int’l Trade 2018) (“{The Department} . . . did not explain why the GOC’s failure to
explain {the EBC} program was necessary to assess claims of non-use and why other information
accessible to respondents was insufficient to fill whatever gap was left by the GOC’s refusal to
provide internal bank records.”); Changzhou Trina Solar Energy Co., Ltd. v. United States, No.
17-00246, 2018 WL 6271653 (Ct. Int’l Trade Nov. 30, 2018) at *3 (noting that “prior to applying
AFA, {the Department} must first demonstrate that the GOC’s failure to provide information left
a gap in the record and subsequently explain how using facts available with an adverse inference
reasonably leads to a given conclusion”); Guizhou Tyre Co., Ltd. v. United States, 348 F. Supp. 3d
1261, 1271 (Ct. Int’l Trade 2018) (noting that where Plaintiffs certified the non-use of the program
by its customers, “{the Department} improperly conflate{d} the program’s operation with its use”
when it applied AFA); Clearon Corp. v. United States, 359 F. Supp. 3d 1344, 1357 (Ct. Int’l Trade
2019) (holding {the Department}’s application of AFA was not supported by substantial evidence
and contrary to law where “Heze and the GOC provided a good deal of evidence that Heze’s U.S.
and non-U.S. customers did not use the Export Buyer’s Credit Program-evidence that, in
accordance with the Department’s past practice, was sufficient to demonstrate non-use.”).
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Federal Circuit has held that “{a}n adverse inference may not be drawn merely from a failure to

respond, but only under circumstances in which it is reasonable for the Department to expect that

more forthcoming responses should have been made, i.e., under circumstances in which it is

reasonable to conclude that less than full cooperation has been shown.”92

          In this review, the mandatory respondents, including Guyu, asserted that their customers

did not utilize this program.93 Furthermore, the GOC provided evidence that none of the

mandatory respondents’ customers utilized the program through a comprehensive search of the

China Ex-Im database.94 Commerce rejected this evidence of non-use by stating that “{w}e have

no way of verifying such statements without the GOC providing us with the requested

documents which would allow us to then properly examine its claims of non-use.”95

          Chiefly, Commerce asserted that it was unable to verify non-use because “the potential

recipients of export buyer’s credits are not limited to the customers of the company respondents,

as they may be received by third-party banks and institutions.”96 However, Commerce’s

assertions ignore evidence submitted on the record by the GOC and mandatory respondents. The

GOC’s explanation of the program, as consistent with other cases, is that the customer must

apply for the credit program with the China Ex-Im Bank. The China-Ex Im Bank would




92
     Nippon Steel Corporation v. United States, 337 F.3d 1373, 1383 (Fed. Cir. 2003).
93
     See Guyu IQR at 12, Exhibit IV-C-5.
94
     See GOC’s SQR at Exhibit SQ-4.
95
     See Final IDM at 65.
96
     Id. at 64.


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therefore have a record of such a customer, regardless of whether the disbursement was allocated

through partner banks, as alleged by Commerce.

          Commerce also continues to stubbornly countervail the EBCP where no evidence exists

on the record despite numerous recent decisions by this Court striking down the agency’s

position.97 The Court should follow the reasoning it most recently gave in Yama Ribbons and

Bows Co., Ltd. v. United States, as it is directly analogous to this review.98 There, as in the

instant proceeding, Commerce applied AFA to find “use” of the EBCP program despite record

evidence of the company’s statement that the customers did not use the program, declarations

from the company’s U.S. customers stating that they did not use the program, and the PRC

government’s the company’s customer list against EX-IM Bank records and reporting its having

found none of the customers in the records of the EBCP.99 The record of this proceeding is

identical, with Guyu confirming non-use, providing customer declarations of non-use, and the

GOC confirming no record in the EX-IM Bank’s database of those customers.100 In Yama, the

Court concluded that there was therefore “no evidence on the record of the review to support a

finding that any U.S. customer of Yama used the EBCP, and the record contained evidence



97
  See Yama Ribbons and Bows Co., Ltd. v. United States, Slip Op. 21-50 (Apr. 30, 2021);
Changzhou Trina Solar Energy Co., Ltd. v. United States, 352 F. Supp. 3d 1316, 1326 (Ct. Int’l
Trade 2018); Changzhou Trina Solar Energy Co., Ltd. v. United States, No. 17-00246, 2018 WL
6271653 (Ct. Int’l Trade Nov. 30, 2018); Guizhou Tyre Co., Ltd. v. United States, 348 F. Supp.
3d 1261, 1271 (Ct. Int’l Trade 2018); Clearon Corp. v. United States, 359 F. Supp. 3d 1344,
1357 (Ct. Int’l Trade 2019).
98
     Yama Ribbons and Bows Co., Ltd. v. United States, Slip Op. 21-50 (Apr. 30, 2021).
99
     See id. at 14-15.
100
  See Guyu Section III Initial Questionnaire Response (July 15, 2019) (“Guyu IQR”) at 12;
Guyu IQR at Exhibit IV-C-5; and Government of China’s Supplemental Questionnaire
Response,” (Oct. 28, 2019) (“GOC’s SQR”) at Exhibit SQ-4.


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refuting any such finding.”101 We ask that this Court similarly find that the Department failed to

adequately consider the evidence presented by Guyu that the EBCP was not used by its

customers and remand for a proper and fair consideration of the evidence presented.

VII.      COMMERCE’S COUNTERVAILING OF “OTHER SUBSIDIES” IS
          UNSUPPORTED BY SUBSTANTIAL EVIDENCE AND CONTRARY TO LAW

          Commerce’s questions regarding “other subsidies” run counter to the domestic law and

WTO Agreements. As a result, application of AFA to these programs is unlawful.

          Under 19 U.S.C. § 1671a, investigations on subsidy programs are initiated only after

sufficient evidence of financial contribution, specificity, and benefit is found or presented.

Therefore, each allegation of a subsidy is subject to a Department review to establish whether the

allegation is properly framed and supported by sufficient evidence. Initiation on that allegation

can therefore only occur following a properly-framed allegation based on specific evidence.

          Similarly, the United States’ commitment under Article 11.2 of the SCM Agreement

dictates that investigations may not be initiated on the basis of “simple assertion, unsubstantiated

by relevant evidence.”102 Sufficient evidence with regard to the existence, amount, and nature of

a subsidy must be presented for Commerce to initiate the investigation of another program,

consistent with Article 11.2(iii). Therefore, in the absence of allegations and sufficient evidence

in respect of “other” subsidies, Commerce cannot investigate such subsidies, should they exist,

much less apply AFA to determine their measure.




101
      Yama Ribbons and Bows Co., Ltd. v. United States, Slip Op. 21-50 (Apr. 30, 2021) at 22.
102
   Agreement on Subsidies and Countervailing Measures, Apr. 15, 1994, Marrakesh Agreement
Establishing the World Trade Organization, Annex 1A, 1869 U.N.T.S. 14 (“SCM Agreement”)
at Article 11.2.
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         Commerce’s practice in asking parties, particularly other governments, to declare and list

“all other subsidies” runs counter to U.S. law as enumerated in 19 U.S.C. § 1671a. U.S. law

clearly requires an allegation of subsidy and an initiation of an investigation into the alleged

program once Commerce has concluded that the allegation is properly structured and supported

by evidence. As “all other subsidies” is a program that is neither alleged nor initiated upon, it is

improper for Commerce to apply AFA or any calculated measure upon this so-called program.

                                              CONCLUSION

         For the foregoing reasons, Commerce’s Final Results are unsupported by substantial

evidence and otherwise not in accordance with law. Plaintiff-Intervenors respectfully request

that this Court remand this matter to Commerce so that the agency may fix the errors identified

above.



                                                      Respectfully Submitted,

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          Dated: May 14, 2021




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                                 CERTIFICATE OF COMPLIANCE



Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies with the

word limitation requirement. The word count for Plaintiff-Intervenors Memorandum of Law in

Support of its 56.2 Motion, as computed by Clark Hill’s word processing system Microsoft Office

Professional, is 9953 words, less than the 14,000 word limit.



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A true and accurate copy of the foregoing was electronically filed on May 14, 2021, via the Court’s

ECF filing system, which automatically serves notice on counsel of record..



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